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lN THE UN|TED STATES DlSTRlCT COURT
NORTHERN DlSTRlCT OF lLLlNOlS EASTERN DlVlS|ON

 

lN RE: Char|ie Banks ) Case No.
)
)
P|aintitf ) COI\/lPLAlNT
)
)
v. ) July Demand Requested
)
Firstsource Advantage, LLC )
205 Bryant Woods Drive )
Amerherst, NY 14228 )
)
Defendant )
Now comes Plaintitf, by and through his attorneys, and, for his Complaint alleges as
follows:
lNTRODUCT|ON

1. P|aintiff, Firstsource Advantage, LLC, brings this action to secure
redress from unlawful collection practices engaged in by Defendant,
GC Services Limited Partnership Plaintitt allege violation of the Fair
Debt Co|lection Practices Act7 15 U.S.C.7 Section 1692 et seq.
(“FDCPA”).
2. The FDCPA broadly prohibits any false, misleading or deceptive
threats in connection With the collection of a debt 15 U.S.C. Section
1692e.
3. A debt collection may not imply outcomes that are not legally able to l
come to pass. Lox \/. CDA, Ltd., 689 F.Bd 81@, 825 (7th Cir. 2012) ~i
4. The Seventh Circuit has stated that "[W]hen language in a debt ~
collection letter can reasonably be interpreted to imply that the debt
collector Will take action it has no intention or ability to undertake, the
debt collector that fails to clarify that ambiguity does so at its peril." LoX
v. CDA, Ltd., 589 F.Bd 818, 825 (7th Cir. 2012) (citing Gonza/es
v. Arroi/i/ Financia/ Ser\/ices,LLC 660 F.Bd 1055, 1063 (ch Cir‘ 2011))f

 

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5.

ln l/l/ilder vs. J.,C. Christensen &Associates, /nc. (Case No. 16-cv-
1979) (N.D.lL 2016), the Court stated “literally true conditional
language in a dunning letter can be deceptive if the action suggested is
legally prohibited,” /d.

The Sixth Circuit Court of Appea|s stated “[l]f Plaintitf can show that
interest or charges could never accrue and therefore the balance owed
is truly fixed, then his claim should be allowed to go ton/vard to
determine if, underthose circumstances, Defendants’ letter was
threatening or materially misleading.” Walker v. Shermeta, Adams,
\/on Allment, PC 623 F. App’x 764, 768 (6“‘ Cir. 2015).

Recently, the Seventh Circuit Court of Appea|s stated that the “safe
harbor” language given in Mi//er v. McCa/la, Raymer Padrick, Cobb,
Nicho/s, & Clark, LLC, 214 F.3d 872 (7th Cir. 2000) is not a defense to
situations that can not legally come to pass. Recently, the Seventh
Circuit Court of Appea|s weighed into the statement in paragraph 24
that it is not a protection to use this language when an outcome is
being suggested that is impossible to come to pass. Boucher v. Fin.
Sys. Of Green Bay, /nc_, No. 17-2308, (7th Cir., 2018)o

JURlSDlCT|ON AND VENUE
This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
1367; and 15 U.S.C. section 1692(d).
Venue is proper because a substantial part of the events giving rise to
this claim occurred in this District.
l PART|ES

10.P|aintitt, Charlie Banks (hereinatter “Plaintitf”) incurred an obligation to

pay money, the primary purpose of which was for personal, family, or

household uses (the “Debt”).

11.P|aintiff is a resident of the State of illinois

12. Defendant, Firstsource Advantage, LLC (“Defendant”), is a Florida

business entity with an address of 205 Bryant Woods Drive, Amherst,

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NY 14428, operating as a collection agency, and is a “debt collector”
as the term is defined by 15 U.S.C. Section 1692a(6).

13. Unless othen/vise stated herein, the term “Defendant” shall refer to
Firstsource Advantage, LLC.

14.,At some point, the original creditor, sold this debt to Defendant for debt
collection.

15.The primary operation of Defendant is the collection of debt.

ALLEGAT|ONS

16.The Plaintiff allegedly incurred a financial obligation in the approximate
amount of $4080.63 (the “Debt”) to American Express,

17.The Debt was purchased, assigned or transferred or referred to
Defendant for collection, or Defendant was employed by the Creditor to
collect to Debt.

18‘The Defendant attempted to collect the Debt and, as such, engaged in
“communications” as defined in 15 U.S.C. Section 1692a(2).

19.0n or about l\/lay 25, 2018, Plaintiff received the attached initial
communication from Defendant. See ExhibitA.

20. Furthermore, said letter goes on to state “[A]s of the date of this letter,
you owe $4080.60. Because of interest, late charges, and other
charges that may vary from day to day, the amount due on the day you
pay may be greater., Hence, if you pay the amount shown above, an
adjustment may be necessary after we receive your check, in which
event we will inform you.” See Exhibit A_

21 . Legally, there can be no “other charges” on this American Express
account; the terms do not allow for that.

22. Defendant threatens that the balance will increase if a payment of
$144 is not made by l\/lay 20, 2018.

23.As stated above, the Plaintiff did not receive the letter until l\/lay 25,

2018.
24.There is no way Plaintiff could make such a payment by this deadline.

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STAND!NG AND |NJURY

25. Plaintiff has suffered an injury in fact that is traceable to Defendant's
conduct and that is likely to be redressed by a favorable decision in
this matter.

26.,Specifically, Plaintiff suffered a concrete informational injury as a result
of Defendant's failure to provide truthful information in connection with
its attempt to collect an alleged debt from Plaintiff.,

27.The Plaintiff has suffered and continues to suffer actual damages as a
result of the Defendant’s unlawful conduct

28.As a direct consequence of the Defendant's acts, practices and
conduct, the Plaintiff suffered and continues to suffer from humiliation,
anger, anxiety, and frustration

VlOLATlONS OF THE FDCPA-15 U.S.C. SECT|ON 1692, et seq.

29.The Plaintiff incorporates by reference all of the above paragraphs of
this Complaint as though fully stated herein.

30.The Defendant’s conduct violated 15 U.S.C. Section 1692e by
suggesting an outcome that is a legal impossibility.

31.The Defendant’s conduct violated 15 U.S.C. Section 1692e by
misleading Plaintiff as to the character of the debt.

JURY DEMAND

32. Plaintiff demands a trial by jury.

PRAYER FOR REL|EF

33. Plaintiff demands the following relief:

WHEREFORE, the Court should enter Judgment in favor of Plaintiff and

against Defendant for:
(1) Statutory damages;

(2) /-\ttorney fees, litigation expenses and costs of suit; and
(3) Such other and further relief as the Court deems proper.
Respectfully submitted,

/s/ John Carlin
John P. Carlin #6277222

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